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                                                                  SAVAHtiAH DIV.
                    UNITED STATES DISTRICT COURT               oniflqrpie PM \-2l
                    SOUTHERN DISTRICT OF GEORGIA
                           STATESBORO DIVISION


 UNITED STATES OF AMERICA                )                         3u.ui nt/
                                         )     CASE NO.
           V.                            )
                                         )     FILED UNDER SEAL
 NATIVIDAD DIAS ET AL.                   )



                                   ORDER


        Based upon the motion of the Government, and for good cause shown

therein, it is hereby ORDERED:

      That the indictment in the above-referenced matter, and all process issued

thereunder, be unsealed.

      So ORDERED, this 12th day of September 2018.




                              G.R. SMITH C-
                              UNITED STATES MAGISTRATE JUDGE
                              SOUTHERN DISTRICT OF GEORGIA
